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           IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF PENNSYLVANIA
                           ERIE DIVISION

BETTE EAKIN, INES MASSELLA, FETTERMAN        Civil Action
FOR PA, DSCC, and DCCC,

                Plaintiffs,                  Case No. 1:22-cv-00340-SPB
     v.
ADAMS COUNTY BOARD OF ELECTIONS,
ALLEGHENY COUNTY BOARD OF ELECTIONS,
BEAVER COUNTY BOARD OF ELECTIONS,
BEDFORD COUNTY BOARD OF ELECTIONS,
BERKS COUNTY BOARD OF ELECTIONS,
BLAIR COUNTY BOARD OF ELECTIONS,
BRADFORD COUNTY BOARD OF ELECTIONS,
BUCKS COUNTY BOARD OF ELECTIONS,
BUTLER COUNTY BOARD OF ELECTIONS,
CAMBRIA COUNTY BOARD OF ELECTIONS,
CAMERON COUNTY BOARD OF ELECTIONS,
CARBON COUNTY BOARD OF ELECTIONS,
CENTRE COUNTY BOARD OF ELECTIONS,
CHESTER COUNTY BOARD OF ELECTIONS,
CLARION COUNTY BOARD OF ELECTIONS,
CLEARFIELD COUNTY BOARD OF ELECTIONS,
CLINTON COUNTY BOARD OF ELECTIONS,
COLUMBIA COUNTY BOARD OF ELECTIONS,
CRAWFORD COUNTY BOARD OF ELECTIONS,
CUMBERLAND COUNTY BOARD OF
ELECTIONS, DAUPHIN COUNTY BOARD OF
ELECTIONS, DELAWARE COUNTY BOARD OF
ELECTIONS, ELK COUNTY BOARD OF
ELECTIONS, FAYETTE COUNTY BOARD OF
ELECTIONS, FOREST COUNTY BOARD OF
ELECTIONS, FRANKLIN COUNTY BOARD OF
ELECTIONS, FULTON COUNTY BOARD OF
ELECTIONS, HUNTINGDON COUNTY BOARD
OF ELECTIONS, INDIANA COUNTY BOARD OF
ELECTIONS, JEFFERSON COUNTY BOARD OF
ELECTIONS, JUNIATA COUNTY BOARD OF
ELECTIONS, LACKAWANNA COUNTY BOARD
OF ELECTIONS, LANCASTER COUNTY BOARD
OF ELECTIONS, LAWRENCE COUNTY BOARD
OF ELECTIONS, LEBANON COUNTY BOARD OF
ELECTIONS, LEHIGH COUNTY BOARD OF
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 ELECTIONS, LUZERNE COUNTY BOARD OF
 ELECTIONS, LYCOMING COUNTY BOARD OF
 ELECTIONS, MCKEAN COUNTY BOARD OF
 ELECTIONS, MERCER COUNTY BOARD OF
 ELECTIONS, MIFFLIN COUNTY BOARD OF
 ELECTIONS, MONROE COUNTY BOARD OF
 ELECTIONS, MONTGOMERY COUNTY BOARD
 OF ELECTIONS, MONTOUR COUNTY BOARD
 OF ELECTIONS, NORTHAMPTON COUNTY
 BOARD OF ELECTIONS, NORTHUMBERLAND
 COUNTY BOARD OF ELECTIONS, PERRY
 COUNTY BOARD OF ELECTIONS, PIKE
 COUNTY BOARD OF ELECTIONS, POTTER
 COUNTY BOARD OF ELECTIONS, SNYDER
 COUNTY BOARD OF ELECTIONS, SOMERSET
 COUNTY BOARD OF ELECTIONS, SULLIVAN
 COUNTY BOARD OF ELECTIONS, TIOGA
 COUNTY BOARD OF ELECTIONS, UNION
 COUNTY BOARD OF ELECTIONS, VENANGO
 COUNTY BOARD OF ELECTIONS, WARREN
 COUNTY BOARD OF ELECTIONS,
 WASHINGTON COUNTY BOARD OF
 ELECTIONS, WAYNE COUNTY BOARD OF
 ELECTIONS, WESTMORELAND COUNTY
 BOARD OF ELECTIONS, and WYOMING
 COUNTY BOARD OF ELECTIONS,

                        Defendants.


                             MOTION TO CORRECT CAPTION

       Plaintiffs’ Complaint in this action listed Defendants as “the county boards of elections for

the 67 counties of the Commonwealth of Pennsylvania.” Compl. ¶ 17. Plaintiffs have since

discovered that the caption included in their Complaint inadvertently omits seven county boards

of elections: Armstrong County Board of Elections, Erie County Board of Elections, Greene

County Board of Elections, Philadelphia County Board of Elections, Schuylkill County Board of

Elections, Susquehanna County Board of Elections, and York County Board of Elections.

Plaintiffs respectfully request that the Court correct the caption to include all 67 county boards of


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elections by adding the aforementioned county boards of elections.



 Dated: November 8, 2022                         Respectfully submitted,


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                                                 * Pro Hac Vice application forthcoming
                                                 Counsel for Plaintiffs




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